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L L P




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F L E X N E R




                      9
                          Counsel for Plaintiffs
                     10
                     11                  UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
S C H I L L E R




                     12
                     13 BROIDY CAPITAL MANAGEMENT               Case No. 18-cv-02421-JFW
                        LLC and ELLIOTT BROIDY,
                     14                                         DECLARATION OF LEE S.
                                  Plaintiffs,                   WOLOSKY TO THE
                     15                                         APPLICATION FOR LEAVE TO
B O I E S




                             v.                                 FILE UNDER SEAL EXHIBITS TO
                     16                                         THE JOINT STIPULATION
                        STATE OF QATAR, STONINGTON              PURSUANT TO LOCAL RULE 37-2
                     17 STRATEGIES LLC, NICOLAS D.              RE MOTION CHALLENGING
                        MUZIN, GLOBAL RISK ADVISORS             DEFENDANT QATAR’S
                     18 LLC, KEVIN CHALKER, DAVID               DESIGNATIONS OF MATERIAL
                        MARK POWELL, MOHAMMED BIN               UNDER THE PROTECTIVE
                     19 HAMAD BIN KHALIFA AL THANI,             ORDER AND REFERENCES TO
                        AHMED AL-RUMAIHI, and DOES 1-           THOSE EXHIBITS
                     20 10,
                                                                [Plaintiffs’ Application for Leave to
                     21                Defendants.              File Under Seal and Proposed Order
                                                                filed concurrently herewith]
                     22
                                                                The Honorable CHARLES F. EICK
                     23
                                                                Hearing Date: November 2, 2018
                     24                                         Time: 9:30 a.m.
                     25
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                     28
                                                                                   Case No. 18-cv-02421-JFW-E
                                                                            DECLARATION OF LEE S. WOLOSKY
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                     1                    DECLARATION OF LEE S. WOLOSKY
                     2        I, Lee S. Wolosky, hereby declare as follows:
                     3        1.      I am a Partner in the law firm of Boies Schiller Flexner LLP. I
                     4 represent Plaintiffs Broidy Capital Management LLC and Elliott Broidy in
                     5 this action.
                     6        2.      I submit this application in support of the Application to Seal
                     7 Exhibits and References to Exhibits to the Joint Stipulation Pursuant to Local
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                     8 Rule 37-2 Regarding the Motion Challenging Defendant Qatar’s Designations
F L E X N E R




                     9 of Material Under the Protective Order (the “Joint Stipulation”).
                    10        3.      The Joint Stipulation is attached as Exhibit A.
                    11        4.      The Proposed Order Granting the Motion Challenging Defendant
S C H I L L E R




                    12 Qatar’s Designations of Material Under the Protective Order is attached as
                    13 Exhibit B.
                    14        5.      On September 6, 2018, the State of Qatar (“Qatar”), Kevin
                    15 Chalker and Global Risk Advisors LLC (together, the “GRA Defendants”),
B O I E S




                    16 and Stonington Strategies LLC and Nicolas D. Muzin (together, the
                    17 “Stonington Defendants”) sent separate emails to Plaintiffs designating
                    18 certain materials produced by third-parties as Confidential or Highly
                    19 Confidential – Attorneys’ Eyes Only pursuant to the Protective Order entered
                    20 in this matter.
                    21        6.      Defendants’ September 6, 2018 emails are attached as Exhibit 1
                    22 to the Joint Stipulation.
                    23        7.      The Protective Order in this matter is attached as Exhibit 2 to the
                    24 Joint Stipulation.
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                                                               -1-                       Case No. 18-cv-02421-JFW-E
                    28                                                            DECLARATION OF LEE S. WOLOSKY
                  Case 2:18-cv-02421-JFW-E Document 231-2 Filed 10/01/18 Page 3 of 8 Page ID #:3758




                     1         8.     This Court’s order adopting the Protective Order in this matter is
                     2 attached as Exhibit 7 to the Joint Stipulation.1
                     3         9.     In a letter dated September 8, 2018, Plaintiffs objected to those
                     4 designations.
                     5         10.    Plaintiffs’ September 8, 2018 letter is attached as Exhibit 3 to the
                     6 Joint Stipulation.
                     7         11.    The portion of Exhibit 3 designated Confidential is highlighted in
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                     8 yellow. The portion of Exhibit 3 designated Highly Confidential – Attorneys’
F L E X N E R




                     9 Eyes Only is highlighted in red.
                    10         12.    On September 11, 2018, Qatar sent a letter to Plaintiffs clarifying
                    11 its designations, limiting its designations to thirty pages of documents of third-
S C H I L L E R




                    12 party discovery materials as Highly Confidential – Attorneys’ Eyes Only. The
                    13 documents designated involve communications among four individuals:
                    14 Defendant Nicolas Muzin, Joseph Allaham, Jamal Benomar, and Ahmed Al-
                    15 Rumaihi. Qatar also designated as Confidential or Highly Confidential –
B O I E S




                    16 Attorneys’ Eyes Only portions of the transcript of the deposition of Joseph
                    17 Allaham. Qatar made these designations pursuant to the Protective Order in
                    18 this action
                    19         13.    Qatar’s September 11, 2018 letter is attached as Exhibit 4 to the
                    20 Joint Stipulation.
                    21         14.    Qatar designated as Highly Confidential – Attorneys’ Eyes Only
                    22 emails from Nick Muzin attaching proposed lobbying strategies. Those
                    23 emails and attachments are attached as Exhibits 10-13 to the Joint Stipulation.
                    24   1
                        In an effort to avoid duplicative exhibit numbering, Plaintiffs rely on the
                    25 exhibit numbering used in the Joint Stipulation for this Declaration. That
                    26 numbering results in certain exhibits appearing out of order in this
                       Declaration.
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                                                             -2-                          Case No. 18-cv-02421-JFW-E
                    28                                                           DECLARATION OF LEE S. WOLOSKY
                  Case 2:18-cv-02421-JFW-E Document 231-2 Filed 10/01/18 Page 4 of 8 Page ID #:3759




                     1        15.    Qatar designated as Highly Confidential – Attorneys’ Eyes Only
                     2 WhatsApp messages amongst Nick Muzin, Joseph Allaham, Jamal Benomar,
                     3 and Ahmed Al-Rumaihi. Those WhatsApp messages are attached as Exhibits
                     4 14-16 to the Joint Stipulation.
                     5        16.    The portion of Exhibit 15 designated Highly Confidential –
                     6 Attorneys’ Eyes Only is highlighted in red.
                     7        17.    Qatar designated as Highly Confidential – Attorneys’ Eyes Only
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                     8 bank records showing payment from Ahmed Al-Rumaihi to Joseph Allaham.
F L E X N E R




                     9 Those bank records are attached as Exhibit 17 to the Joint Stipulation.
                    10        18.    Qatar designated as Confidential and Highly Confidential –
                    11 Attorneys’ Eyes Only portions of the transcript of the deposition of Joseph
S C H I L L E R




                    12 Allaham. The transcript of the deposition of Joseph Allaham is attached as
                    13 Exhibit 18 to the Joint Stipulation.
                    14        19.    The portion of Exhibit 18 designated Confidential is highlighted
                    15 in yellow. The portion of Exhibit 18 designated Highly Confidential –
B O I E S




                    16 Attorneys’ Eyes Only is highlighted in red.
                    17        20.    The parties held a telephonic meet and confer on Wednesday,
                    18 September 12, 2018 at 4:30 p.m. Eastern Daylight Time to discuss Plaintiffs’
                    19 intention to challenge the designations made by Defendants pursuant to the
                    20 Protective Order. Lee Wolosky, Amy Neuhardt and Sam Kleiner of Boies
                    21 Schiller Flexner LLP participated on behalf of Plaintiffs. Jonathan Gimblett,
                    22 William Phillips, and Neema Sahni of Covington & Burling LLP participated
                    23 on behalf of Qatar. Steve Obermeier and Matt Gardner of Wiley Rein LLP
                    24 participated on behalf of the Stonington Defendants. David Gringer of
                    25 Wilmer Cutler Pickering Hale and Dorr LLP participated on behalf of the
                    26 GRA Defendants. During the meet and confer, Plaintiffs objected to all of
                    27
                                                              -3-                      Case No. 18-cv-02421-JFW-E
                    28                                                          DECLARATION OF LEE S. WOLOSKY
                  Case 2:18-cv-02421-JFW-E Document 231-2 Filed 10/01/18 Page 5 of 8 Page ID #:3760




                     1 Qatar’s designations of materials as Confidential or Highly Confidential–
                     2 Attorneys’ Eyes Only.
                     3         21.   The Stonington Defendants since have withdrawn many of their
                     4 designations and Plaintiffs have agreed not to challenge the remaining
                     5 designations at this time. Plaintiffs also have decided not to challenge the
                     6 designations made by the GRA Defendants at this time.
                     7         22.   On September 13, 2018, Plaintiffs sent an email to Qatar with
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                     8 additional objections to Qatar’s September 11, 2018 designations.
F L E X N E R




                     9         23.   Plaintiffs’ September 13, 2018 email is attached as Exhibit 5 to
                    10 the Joint Stipulation.
                    11         24.   The portion of Exhibit 5 designated Highly Confidential –
S C H I L L E R




                    12 Attorneys’ Eyes Only is highlighted in red.
                    13         25.   On September 14, 2018, Qatar sent an email to Plaintiffs
                    14 withdrawing the designation of one page as Confidential but otherwise
                    15 maintained all of its designations.
B O I E S




                    16         26.   Qatar’s September 14, 2018 email is attached as Exhibit 6 to the
                    17 Joint Stipulation.
                    18         27.   The portion of Exhibit 6 designated Highly Confidential –
                    19 Attorneys’ Eyes Only is highlighted in red.
                    20         28.   On September 21, 2018, Plaintiffs sent Qatar their portion of a
                    21 Joint Stipulation Challenging Qatar’s Designations of Materials Pursuant to
                    22 the Protective Order. Plaintiffs highlighted portions of the Joint Stipulation
                    23 that either quoted from or described the materials Qatar had designated as
                    24 Confidential or Highly Confidential–Attorneys’ Eyes Only. Plaintiffs also
                    25 sent Qatar their exhibits to the Joint Stipulation.
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                                                              -4-                       Case No. 18-cv-02421-JFW-E
                    28                                                           DECLARATION OF LEE S. WOLOSKY
                  Case 2:18-cv-02421-JFW-E Document 231-2 Filed 10/01/18 Page 6 of 8 Page ID #:3761




                     1         29.   The parties held a telephonic meet and confer on Wednesday,
                     2 September 25, 2018 at 6:00 p.m. Eastern Daylight Time to discuss what if any
                     3 exhibits or references to exhibits needed to be filed under seal with respect to
                     4 the Joint Stipulation. Lee Wolosky, Jonathan Shaw, William Bloom, and Sam
                     5 Kleiner of Boies Schiller Flexner LLP participated on behalf of Plaintiffs.
                     6 Mitchell A. Kamin and Neema T. Sahni of Covington & Burling LLP
                     7 participated on behalf of Qatar. Also on the call were Steve Obermeier of
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                     8 Wiley Rein LLP on behalf of the Stonington Defendants and David Gringer of
F L E X N E R




                     9 Wilmer Cutler Pickering Hale and Dorr LLP on behalf of the GRA
                    10 Defendants. During the call, Plaintiffs expressed their continued belief that
                    11 none of the materials or references to the materials should be designated as
S C H I L L E R




                    12 Confidential or Highly Confidential–Attorneys’ Eyes Only. Qatar maintained
                    13 that all of the materials and references to the materials should maintain their
                    14 designations and be sealed. Plaintiffs explained that they would maintain
                    15 Qatar’s designations when filing their Application to Seal Exhibits to the Joint
B O I E S




                    16 Stipulation but reminded Qatar of its obligations under Local Rule 79-5.2.2(b)
                    17 to establish the necessity for filing any of the designated materials or
                    18 references to those materials under seal. Qatar offered to provide such
                    19 proposed redactions, if any, to the designated materials as it was willing to
                    20 agree to in lieu of sealing when it sent its portion of the Joint Stipulation on
                    21 Friday, September 28, 2018.
                    22         30.    On September 28, 2018, Qatar sent its portion of the Joint
                    23 Stipulation to Plaintiffs. Additionally, Qatar listed the documents it wanted to
                    24 apply to seal, both in full and partially. Plaintiffs responded with the complete
                    25 Joint Stipulation and requested that Qatar confirm the list of documents it
                    26 wished to apply to seal.
                    27
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                    28                                                             DECLARATION OF LEE S. WOLOSKY
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                     1         31.   On October 1, 2018, Qatar confirmed the list of documents it
                     2 wished to apply to seal.
                     3         32.   Joseph Allaham’s Short Form Registration Statement Pursuant to
                     4 the Foreign Agents Registration Act of 1938 is attached as Exhibit 8 to the
                     5 Joint Stipulation.
                     6         33.   The press release titled “Statement from Qatar’s Media Attaché
                     7 in Washington DC on Meeting with President Trump’s Transition Team”
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                     8 dated May 16, 2018 is attached as Exhibit 9 to the Joint Stipulation.
F L E X N E R




                     9         34. The Wall Street Journal article titled “The New Lobbying: Qatar
                    10 Targeted 250 Trump ‘Influencers’ to Change U.S. Policy,” dated August 29,
                    11 2018, is attached as Exhibit 19 to the Joint Stipulation.
S C H I L L E R




                    12         35. Stonington Strategies LLC’s Supplemental Statement Pursuant to
                    13 the Foreign Agents Registration Act of 1938 dated May 22, 2018 is attached
                    14 as Exhibit 20 to the Joint Stipulation.
                    15         36. Lexington Strategies, LLC’s Registration Statement Pursuant to
B O I E S




                    16 the Foreign Agents Registration Act of 1938 dated June 15, 2018 is attached
                    17 as Exhibit 21 to the Joint Stipulation.
                    18         37. The Letter from Congressman Dan Burton to His Royal Highness
                    19 Prince Bandar bin Sultan bin Abdulaziz dated November 21, 2002 is attached
                    20 as Exhibit 22 to the Joint Stipulation.
                    21         38. The Scheduling and Case Management Order in this matter is
                    22 attached as Exhibit 23 to the Joint Stipulation.
                    23         39.   The New York Times article titled “Hackers Went After a Now-
                    24 Disgraced G.O.P. Fund-Raiser. Now He Is After Them,” dated September 20,
                    25 2018, is attached as Exhibit 24 to the Joint Stipulation.
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                                                                 -6-                      Case No. 18-cv-02421-JFW-E
                    28                                                             DECLARATION OF LEE S. WOLOSKY
                  Case 2:18-cv-02421-JFW-E Document 231-2 Filed 10/01/18 Page 8 of 8 Page ID #:3763




                     1        40.     The Letter from Paul V. Kelly, Assistant Secretary of Legislative
                     2 Affairs for the United States Department of State, to Congressman Dan
                     3 Burton dated December 4, 2002 is attached as Exhibit 25 to the Joint
                     4 Stipulation.
                     5
                     6        I declare under penalty of perjury under the laws of the United States
                     7 that the foregoing is true and correct.
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F L E X N E R




                     9 Dated: October 1, 2018             By:     /s/ Lee S. Wolosky
                    10                                            Lee S. Wolosky
                    11                                            Counsel for Plaintiffs
S C H I L L E R




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                                                                 -7-                      Case No. 18-cv-02421-JFW-E
                    28                                                             DECLARATION OF LEE S. WOLOSKY
